Case 4:24-cv-00011-SDJ-BD          Document 12       Filed 09/12/24       Page 1 of 2 PageID #: 44




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS


 ANTHONY CAIRNS,                                      )
                                                      )
                               Plaintiff,             )
                                                      )       CIVIL ACTION
 vs.                                                  )
                                                      )       Case No. 4:24-CV-00011
 JAMES HOLMES, Trustee of JAMES C.                    )
 HOLMES FAMILY TRUST and                              )
 YIPPIE DOODLE CORPORATION,                           )
                                                      )
                               Defendants.            )


                 JOINT STIPULATION OF DISMISSAL OF DEFENDANT
                               WITH PREJUDICE

       Plaintiff, ANTHONY CAIRNS and Defendant, JAMES HOLMES, Trustee of JAMES C.

 HOLMES FAMILY TRUST and YIPPIE DOODLE CORPORATION, by and through

 undersigned counsel and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

 Procedure, hereby jointly stipulate to the dismissal of Defendants, JAMES HOLMES, Trustee of

 JAMES C. HOLMES FAMILY TRUST and YIPPIE DOODLE CORPORATION, and this

 entire case with prejudice. Each party bears their own fees and costs.

       Respectfully submitted this 12th day of September, 2024.

                                       Law Offices of
                                       THE SCHAPIRO LAW GROUP, P.L.

                                       /s/ Douglas S. Schapiro____________
                                       Douglas S. Schapiro, Esq.
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Case 4:24-cv-00011-SDJ-BD       Document 12       Filed 09/12/24     Page 2 of 2 PageID #: 45




                                    /s/ Nolan Klein
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                                    Attorney for Defendant


                               CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 12th day of September, 2024 we electronically filed the

 forgoing with the Clerk of the Court by using the CM/ECF system.


                                           /s/ Douglas S. Schapiro
                                           Douglas S. Schapiro
                                           State Bar No. 54538FL
